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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

GLORIA MITCHELL, individually and on
behalf of all others similarly situated,

                       Plaintiff,                     Case No. 1:16-cv-00076-BLW

v.                                                    RESPONSE IN OPPOSITION TO
                                                      DEFENDANT’S MOTION TO
WINCO FOODS, LLC, a Delaware limited                  DISMISS SECOND AMENDED
liability company,                                    COMPLAINT

                       Defendant.



                                       INTRODUCTION

       More than three years have passed since Mitchell first initiated this lawsuit back on

February 18, 2016. Now, after dismissal of her First Amended Class Action Complaint, a

successful Ninth Circuit appeal, and a newly-filed Second Amended Class Action Complaint,


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WinCo seeks—yet again—to prevent this case from progressing past the pleadings. That is,

despite unambiguous statutory language and firm Ninth Circuit precedent, WinCo asserts that its

background check disclosure form is clear and stands alone as required by the Fair Credit

Reporting Act (“FCRA”). This defense goes nowhere. WinCo’s form contains extraneous

information in violation of the FCRA’s clear “stand-alone” disclosure requirement and ignores

plain, decades-old guidance from the FTC cautioning against the inclusion of such surplusage.

As explained herein, WinCo’s arguments are without merit, and its Motion to Dismiss Plaintiff’s

Second Amended Complaint should be denied.1

                                   STATEMENT OF FACTS

       In or around April 2015, Plaintiff Mitchell applied for a job with WinCo using WinCo’s

online application. (SAC ¶ 17.) Shortly thereafter WinCo hired her as a deli clerk at WinCo’s

Lewisville, Texas store. (Id. ¶ 18.) During the application process, Plaintiff was presented with

an FCRA disclosure and authorization form that was riddled with extraneous information. (See

SAC Ex. A.) On information and belief, Plaintiff alleges that WinCo presents its disclosure form

and its authorization form during the same application process and at approximately the same

time, such that the forms should be read simultaneously. (SAC ¶ 49.)

       Plaintiff filed her Complaint on February 18, 2016. (Dkt. 1.) The Parties subsequently

stipulated to two extensions of WinCo’s responsive pleading deadline. (Dkts. 6, 8.) On April 20,

2016 Plaintiff filed her First Amended Complaint and WinCo moved to dismiss on May 9, 2016.

(Dkts. 10, 12.) On July 18, 2016, WinCo filed a second motion to dismiss arguing that Plaintiff

lacked standing. (Dkt. 20.) A hearing was held on the motions on October 18, 2016, and the



1
 Concurrently with this Response in Opposition, Plaintiff is filing a Motion for leave to conduct
discovery, which has been frozen for over 3 years.
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Court granted WinCo’s second motion to dismiss on March 7, 2017.2 (Dkts. 27–29.) Three days

later, Mitchell moved for reconsideration, and the Court denied her motion on November 13,

2017. (Dkts. 30, 34.)

         Mitchell thereafter appealed, and, on November 29, 2018, the Ninth Circuit Court of

Appeals affirmed in part, vacated in part, and remanded the case to permit Mitchell to amend her

complaint and cure her pleadings with regards to standing. (Dkt. 42.) Accordingly, Mitchell

amended her complaint and filed the SAC on January 25, 2019. (Dkt. 46.) On February 21, 2019,

WinCo filed its third motion to dismiss. (Dkt. 49.)

                                          ARGUMENT

         In its Motion to Dismiss Plaintiff’s SAC, WinCo recites arguments reminiscent of its first

Motion to Dismiss filed several years ago. That is, WinCo argues first that its FCRA form does

not violate the Act because it supposedly consists solely of the required disclosure and is clear

and conspicuous. WinCo also argues, as it did in its earliest Motion to Dismiss, that its actions do

not amount to willful violations of the FCRA. These arguments are without merit. WinCo’s form

is neither clear nor presented in a document consisting solely of the disclosure as required by §

1681b(b)(2)(A)(i) of the FCRA. Additionally, Mitchell has sufficiently pleaded a willful

violation of the statute because WinCo’s form represents an objectively unreasonable departure

from both the plain language requirement of the FCRA and relevant guidance from the FTC.

Accordingly, the Court should deny WinCo’s Motion to Dismiss the SAC.

A.       WinCo’s disclosure form violates the FCRA because it is unclear and contains
         extraneous information.

         Despite WinCo’s assertions to the contrary, the disclosure form at issue does not comply

with the FCRA. Section 1681b(b)(2)(A)(i) of the FCRA requires employers to make a “clear and

2
    WinCo’s first motion to dismiss was deemed moot. (Dkt. 28.)
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conspicuous disclosure” to employees or prospective employees of their intent to procure a

consumer credit report. 15 U.S.C. § 1681b(b)(2)(A)(i). The statute further mandates that this

disclosure be made “in a document that consists solely of the disclosure.” Id. (emphasis added).

This is the FCRA’s “stand-alone” disclosure requirement. As a result of extraneous information

included in WinCo’s form, the disclosure made to Mitchell and other members of the class was

not clear, and the form did not consist solely of the disclosure. Accordingly, Plaintiff has

sufficiently plead a violation of the FCRA, and WinCo’s Motion to Dismiss should be denied.

       1.      Plaintiff sufficiently alleges that WinCo’s disclosure form is unclear.

       The FCRA’s “clear and conspicuous” disclosure requirement is a singular statutory

obligation, but the Ninth Circuit in Gilberg analyzed each quality as a separate prong. Gilberg v.

Cal. Check Cashing Stores, LLC, 913 F.3d 1169, 1177 (9th Cir. 2019). The Gilberg court

explained that “clear” means “reasonably understandable.” Id. at 1176. Likewise, the Ninth

Circuit defined “conspicuous” as “readily noticeable to the consumer.” Id. To satisfy the FCRA,

a disclosure must be both clear and conspicuous—the form at issue in Gilberg was conspicuous

but not clear, and it therefore violated the FCRA. See id. at 1177–78.

       In all of three paragraphs, WinCo briefly argues that its disclosure form is both clear and

conspicuous. (Mot. to Dismiss, at 12–13.) WinCo contends the disclosure is clear because it

contains seven sentences with distinct functions and supposedly “no legalese or ambiguous

phrases.” (Id. at 12.) WinCo also asserts that, because the items that made the disclosure in

Gilberg unclear are not present in its form, its disclosure is clear. (Id.) WinCo also posits that the

form is conspicuous due to its bold, capitalized heading and legible typeface. (Id. at 13.)

       WinCo’s disclosure form is unclear. The form isn’t reasonably understandable to

consumers. It consists of seven sentences, and the language does more to confuse applicants than


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to clearly inform them about the consumer report that will be obtained. In the opening paragraph,

WinCo discloses that it “will procure a consumer report and/or investigative report.” (Id.)

Thereafter, in the third paragraph, the form describes the nature and scope of “the report”

without making any distinction between consumer reports or investigative reports:

       The report may contain information bearing on your character, general reputation,
       personal characteristics, mode of living, and/or credit standing. The information
       that may be included in your report include: social security number trace,
       authorization to work checks, criminal records checks, civil record checks,
       financial information and credit checks (Experian U.S. Credit), federal record
       checks, public court records checks, driving records checks, drug tests, physical
       tests, educational records checks, employment history verification, references
       checks, sanction,3 licensing and certification checks. The information contained in
       the report will be obtained from private and/or public record sources, including
       sources identified by you in your job application or through interviews or
       correspondence with your past or present coworkers, neighbors, friends,
       associates, current or former employers, educational institutions or other
       acquaintances.

(Id.) (emphasis in original). This is a lengthy description, and applicants are not put on

reasonable notice as to what type of report will be obtained. The form’s opaque language is

confusing and appears to combine the nature of two different types of reports—consumer reports

and investigative consumer reports—into one amalgam, “report.” First, the report may contain

information regarding character, general reputation, personal characteristics, and mode of

living—such classifications are in the definitions of both consumer and investigative reports. See

15 U.S.C. § 1681a(d)(1), 1681a(e). However, the report may also contain information regarding




3
 On its own, a disclosure that “[t]he information that may be included in your report include . . .
sanction” is not reasonably understandable by Plaintiff’s counsel, let alone by Plaintiff and other
WinCo job applicants.

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credit standing—a type of information unique to consumer reports.4 Id. Further, “the report” may

contain financial information and credit checks (suggesting it is a consumer report), yet

information “will be obtained” through interviews with coworkers, friends, neighbors, even

acquaintances (suggesting it is an investigative report). Id. The FCRA expressly divides these

information sources among the two types of reports: consumer reports and investigative

consumer reports. See 15 U.S.C. § 1681a(d)(1), 1681a(e). WinCo’s decision to combine the two

disclosures into one muddled paragraph renders the disclosure unclear and prevents applicants

from meaningfully authorizing their reports.

       Likewise, WinCo’s argument that the form is clear because it “contains neither” of the

inclusions present in the form in Gilberg misses the mark. (Mot. to Dismiss, at 12.) The FCRA

requires clarity, not the absence of any particular extraneous language. In Gilberg, the form at

issue was unclear because: (1) it contained language that a reasonable person would not

understand, and (2) it combined federal and state disclosures. Gilberg, 913 F.3d at 1177. This

finding did not require the presence of any specific extra information—the form was unclear

because it would confuse a reasonable reader. In the present action, Plaintiff expressly alleges

that WinCo’s form is unclear and confusing. (SAC ¶¶ 3–6, 21, 53.) WinCo cannot dispute this on

the pleadings simply by disagreeing. Rather, at this stage of the case Plaintiff has plausibly

alleged that WinCo’s FCRA form violates the statute because it is unclear, and this claim is

supported by the factual assertions that the form: (1) contains language that a reasonable person

would not understand; (2) combines consumer report and investigative report disclosures in a

way that confuses applicants; and (3) obfuscates the nature of the report in question.


4
 Notably, the definition of investigative consumer reports explicitly prohibits inclusion of
“specific factual information on a consumer’s credit record” that is obtained from the consumer
or a creditor. 15 U.S.C. § 1681a(e).
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       By combining multiple disclosures into one, WinCo blurred the distinction between

consumer reports and investigative reports and rendered its disclosure form inscrutable. Plaintiff

alleges that Defendant’s disclosure is not reasonably understandable to applicants—the form is

not clear. Accordingly, WinCo has plausibly violated the FCRA and its Motion to Dismiss

should be denied.

       2.      WinCo’s disclosure fails to stand alone.

       In addition to being unclear, WinCo’s disclosure fails to standalone. That is, an FCRA

disclosure form must be “in a document that consists solely of the disclosure”—otherwise known

as the stand-alone disclosure requirement. 15 U.S.C. § 1681b(b)(2)(A)(i). As the Ninth Circuit

explained in Syed, the stand-alone requirement of section 1681b(b)(2)(A)(i) is unambiguous:

       Where congressional intent “has been expressed in reasonably plain terms, that
       language must ordinarily be regarded as conclusive.” Griffin v. Oceanic
       Contractors, Inc., 458 U.S. 564, 570, 102 S. Ct. 3245, 73 L.Ed.2d 973 (1982)
       (internal quotation marks omitted). And when “the meaning of the words seems to
       us to be intelligible upon a simple reading, ... we shall spend no time upon
       generalities concerning the principles of [statutory] interpretation.” United States
       v. M.H. Pulaski Co., 243 U.S. 97, 106, 37 S.Ct. 346, 61 L.Ed. 617 (1917).

       The ordinary meaning of “solely” is “[a]lone; singly” or “[e]ntirely;
       exclusively.” American Heritage Dictionary of the English Language 1666 (5th
       ed. 2011).

Syed v. M-I, LLC, 853 F.3d 492, 500 (9th Cir. 2017) (emphasis added). “That other FCRA

provisions mandating disclosure omit the term ‘solely’ is further evidence that Congress intended

that term to carry meaning in 15 U.S.C. § 1681b(b)(2)(A)(i).” Id. at 501. Even though the statute

contains an express exception for an accompanying authorization, the Court explained that, “in

light of Congress’s express grant of permission for the inclusion of an authorization, the familiar

judicial maxim expressio unius est exclusio alterius counsels against finding additional, implied,


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exceptions.” Syed, 853 F.3d at 501. Thus, under the plain language of the statute any extraneous

information contained in a disclosure form (aside from the authorization) violates the FCRA.

       Several weeks ago, the Ninth Circuit in Gilberg reinforced this aspect of Syed. See

Gilberg, 913 F.3d at 1175–76. In Gilberg, the Court found that state law disclosures constitute

extraneous information that violates the stand-alone requirement. Id. at 1171. Though the

respondent in Gilberg attempted to distinguish Syed, the Court clarified that “Syed’s holding and

statutory analysis were not limited to liability waivers; Syed considered the standalone

requirement with regard to any surplusage.” Id. at 1175 (emphasis added). This result was

compelled by the clarity of the FCRA’s standalone provision:

       We concluded [in Syed] the statute meant what it said: the required disclosure
       must be in a document that “consist[s] ‘solely’ of the disclosure.” We based this
       holding on the statute’s plain language, noting “[w]here congressional intent ‘has
       been expressed in reasonably plain terms, that language must ordinarily be
       regarded as conclusive.’”

Id. (citing Syed, 853 F.3d at 496, 500).

       Taken together, Gilberg and Syed hold firmly “that the standalone requirement forecloses

implied exceptions.” Id. at 1176. Hence, even if extraneous information is included under the

guise of furthering the purpose of the FCRA, “purpose does not override plain meaning.” Id. at

1175. Gilberg further noted that “even ‘related’ information may distract or confuse the reader,”

as the presence of extraneous information in a disclosure form that is “as likely to confuse as it is

to inform” does not further the purpose of the FCRA. Id. at 1176.

       WinCo sidesteps Syed and Gilberg and instead cites to several district court cases that

applied more lenient guidance. In Walker, for example, the District of Oregon adopted the FTC’s

relaxed interpretation of the standalone requirement in finding that employers may include a

limited investigative report disclosure in their forms, provided that the information doesn’t

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“overshadow” the consumer report disclosure. Walker v. Fred Meyer, Inc., No. 3:17-cv-01797-

YY, 2018 WL 2455915, at *5 (D. Or. May 7, 2018); see also FTC Advisory Opinion to Willner

(Mar. 25, 1999). Walker is non-binding, pre-dates Gilberg’s admonishment that Syed wasn’t

limited to the inclusion of liability waivers, and is currently before the Ninth Circuit on appeal.

See Walker v. Fred Meyer, Inc., No. 3:17-cv-01797-YY, 2018 WL 3090199 (D. Or. June 21,

2018), appeal docketed, No. 18-35592 (9th Cir. July 20, 2018). WinCo also cites to Coleman,

where a disclosure form was found to be compliant. Coleman v. Kohl’s Dep’t Stores, Inc., No.

15-cv-02588-JCS, 2015 WL 5782352, at *6 (N.D. Cal. Oct. 5, 2015). Not only was Coleman

decided before Syed and Gilberg—it was decided on a different case theory. There the plaintiff

claimed that “the Employment Application and Consent and Disclosure Form are, in actuality,

one document,” which would have certainly violated the stand-alone requirement. Id. at *5. The

court granted Kohls’ motion to dismiss on this theory without meaningfully addressing the

language in the disclosure form: “Neither party disputes that the purpose of [the disclosure]

document relates to consumer reports only.” Id. Thus, because Mitchell has argued (and the

form’s language confirms) that WinCo’s disclosure relates to both consumer reports and

investigative consumer reports, the applicability of Coleman to this action is likewise limited.

       Nevertheless, even if the Court were to adopt the FTC’s more lenient standard, WinCo’s

form is still overshadowed by information about investigative consumer reports. The FTC’s

Willner opinion specifically warned employers not to include extraneous information about

investigative reports because a description of the nature and scope of investigative reports

“would of necessity be much more detailed and would likely be held to overshadow” the

consumer report disclosure and violate the FCRA. FTC Advisory Opinion to Willner (Mar. 25,




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1999). As a result, even under the lenient Willner approach any reference to investigative reports

must be “very limited.” Id.

       WinCo’s form includes more than just a limited disclosure about investigative reports.

Instead, WinCo’s form: (1) mentions that an investigative report may be obtained without

distinguishing it from a consumer report; (2) provides detailed information about TalentWise—a

requirement for detailed investigative report disclosures;5 (3) states that information “will be

obtained…through interviews”; and (4) lists a multitude of sources that will be interviewed

(friends, neighbors, acquaintances, etc.). (SAC, Ex. A.) This information relates exclusively to

the nature and scope of investigative consumer reports, and it overshadows the limited consumer

report disclosure language buried within the form.

       WinCo’s form violates the FCRA under either Ninth Circuit precedent or the FTC’s more

lenient approach. Accordingly, WinCo’s Motion to Dismiss the SAC should be denied.

B.     The disclosure form constitutes a willful violation of the FCRA.

       WinCo also contends in its Motion to Dismiss that Mitchell has not sufficiently plead a

willful violation of the FCRA, relying largely on the Supreme Court’s Safeco opinion. However,

WinCo’s inclusion of extraneous information in its disclosure form is objectively unreasonable

in light of the unambiguous statutory language at issue here and FTC guidance published almost

twenty years ago. Further, WinCo bolsters its argument by pointing to a “two-part test” that

misinterprets (and frankly does not exist in) the Safeco opinion. Plaintiff has alleged sufficient

facts to demonstrate willfulness, and WinCo’s Motion to Dismiss this claim is without merit.


5
  See FED. TRADE COMM. (F.T.C.), 40 YEARS OF EXPERIENCE WITH THE FAIR CREDIT REPORTING
ACT: AN FTC STAFF REPORT WITH SUMMARY OF INTERPRETATIONS (2011), 64, available at
www.ftc.gov/sites/default/files/documents/reports/40-years-experience-fair-credit-reporting-act-
ftc-staff-report-summary-interpretations/110720fcrareport.pdf (last visited Mar. 4, 2019)
[hereafter “40 YEARS OF THE FCRA”].
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       1.      Winco’s form was objectively unreasonable in light of the statutory language
               and existing FTC guidance.

       In the context of the FCRA, the Supreme Court in Safeco held that “reckless disregard of

a requirement of FCRA would qualify as a willful violation” of the statute. Safeco Ins. Co. of

Am. v. Burr, 551 U.S. 47, 71 (2007). As Defendant points out, the threshold for recklessness

requires a showing that the defendant took an action or interpreted an unclear statute in a manner

that was “objectively unreasonable” and creates a risk of violation that is substantially greater

than the risk associated with a careless reading. Id. at 69–70. The Supreme Court ruled that

Safeco had not willfully violated the FCRA because the statute was “less-than-pellucid” on the

issue in question and there was no court or FTC guidance “that might have warned [Safeco]

away from the view it took.” Id. at 70.

       That said, a lack of definitive authority “does not, as a matter of law, immunize [a party]

from potential liability” for violating the FCRA. Syed, 853 F.3d at 504 (quoting Cortez v. Trans

Union, LLC, 617 F.3d 688, 721 (3d Cir. 2010)) (alterations in original). In Syed, the Ninth

Circuit wholly adopted the standards of Safeco. See Syed, 853 F.3d at 503–06. The Syed court

found that the standalone requirement, as is at issue in the present case, “is not subject to a range

of plausible interpretations.” Id. at 505. To the contrary, “15 U.S.C. § 1681b(b)(2)(A)

unambiguously forecloses the inclusion of a liability waiver in a disclosure document. Thus we

need not consider . . . subjective interpretation of the FCRA in determining whether [the

defendant] acted [recklessly].” Id. And, as stated above, Syed’s holding and analysis is “not

limited to liability waivers,” but applies “to any surplusage.” Gilberg, 913 F.3d at 1175.

       At this stage of the litigation, Plaintiff “simply must allege sufficient facts to demonstrate

the alleged violation, as pled, amounts to an objectively unreasonable reading of the statute.”

Moore v. Rite Aid Hdqtrs Corp., No. CIV. A. 13-1515, 2015 WL 3444227, at *10 (E.D. Pa. May
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29, 2015) (evaluating a motion to dismiss in a substantially-similar FCRA case that raised a

similar willfulness argument and finding that the attack improperly “go[es] to the merits of

plaintiff’s case”). Mitchell has plainly done so, and now is not the time to argue the case on its

merits.

          And in any case, WinCo’s arguments that the FCRA and related guidance were unclear at

the time it violated the law here are unsupported. At all times relevant to this case, Section

1681b(b)(2)(A)(i) of the FCRA has plainly stated as follows:

          [A] person may not procure a consumer report, or cause a consumer report to be
          procured, for employment purposes with respect to any consumer, unless a clear
          and conspicuous disclosure has been made in writing to the consumer at any time
          before the report is procured or caused to be procured, in a document that consists
          solely of the disclosure, that a consumer report may be obtained for employment
          purposes.

15 U.S.C. § 1681b(b)(2)(A)(i). This provision unambiguously requires that a consumer report

disclosure must consist solely of the disclosure. Further, section 1681b pertains exclusively to

“consumer reports”—the FCRA contains a separate section regarding disclosures for

investigative consumer reports. Compare 15 U.S.C. § 1681b with 15 U.S.C. § 1681d. The two

report types are significantly different and distinctly defined. 15 U.S.C. § 1681a(d)(1), 1681a(e).

          As noted in Syed, the stand-alone requirement mandate is unambiguous and thus not open

to individual interpretation. See Syed, 853 F.3d at 505. In light of the FCRA’s structure and

language itself, it was improper for WinCo to adopt its own interpretation of the FCRA’s plain

language. Likewise, interpreting the word “disclosure” to refer to two, separately defined

disclosures, or otherwise to interpret the phrase “must consist solely of the disclosure” to carry

little to no meaning at all, is objectively unreasonable.




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       In its Motion to Dismiss, WinCo argues that the term “disclosure” is supposedly unclear

because it is not formally defined. (Mot. to Dismiss, at 16.) Notwithstanding that the word

“disclosure” is a common word rather than a legal term of art, section 1681b(b)(2)(A)(i) of the

FCRA provides a plain, contextual description of the disclosure’s form as well as its contents.

This subsection of the FCRA informs employers: (1) that a disclosure must be made; (2) when

the disclosure must be made (“at any time before the report is procured”); (3) how the disclosure

must be made (“in writing”); (4) what the disclosure must describe (“that a consumer report may

be obtained for employment purposes”); and (5) that the disclosure must stand alone (“in a

document consisting solely of the disclosure”). 15 U.S.C. § 1681b(b)(2)(A)(i). The statutory

language provides clear guidance on the disclosure that must be provided to applicants before

obtaining a consumer report, and WinCo rejected that guidance in a manner that was objectively

unreasonable.

       To further its argument, Defendant suggests that the term “disclosure” is unclear because

the FTC has permitted the addition of “minor additional items.” (Mot. to Dismiss, at 16.) WinCo

points to the FTC’s “40 Years” report, which purports to authorize some minor additions,

including “a very limited notice of intent to procure an investigative consumer report.” Id.; see

also F.T.C., 40 YEARS OF THE FCRA, at 51. WinCo also cites to several FTC advisory opinions

for support. (Mot. to Dismiss, at 16–17.)

       Even in light of the FTC’s more lenient approach, WinCo’s arguments are unavailing. As

a preliminary matter, because the FCRA’s standalone requirement is unambiguous, any

interpretation of that provision by the FTC is not entitled to deference:

       When a court reviews an agency’s construction of the statute which it administers,
       it is confronted with two questions. First, always, is the question of whether
       Congress had directly spoken to the precise question at issue. If the intent of
       Congress is clear, that is the end of the matter; for the court, as well as the agency,
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       must give effect to the unambiguously expressed intent of Congress.

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 842–43 (1984). Yet even if

the Court were to accept the FTC’s guidance as an appropriate authority upon which WinCo

relied, Defendant’s form still exceeds the FTC’s more permissive approach. Curiously absent

from WinCo’s list of FTC advisory opinions is Willner, which, as a reminder, stated that

including a description of the “nature and scope” of investigative reports “would of necessity be

much more detailed and would likely be held to overshadow” the consumer report disclosure—

accordingly, Willner permitted only “very limited” reference to the possibility of an investigative

report. FTC Advisory Opinion to Willner (Mar. 25, 1999). The FTC pointed out that an employer

may include only this very limited notice without running afoul of the standalone requirement,

adding that, “[t]he surest way for an employer to comply, of course, would be to provide the

[consumer report disclosure] notice and the [investigative report nature and scope] notice in

separate documents.” Id. The Willner opinion, like the others cited by WinCo, has been available

to employers for almost two decades, including at the time that Mitchell was presented with

WinCo’s form. And yet, Defendant’s disclosure form is overshadowed by a lengthy description

of sources that “will be” interviewed. (See SAC, Ex. A.)

       As Defendant points out, the FTC’s position in Willner was reiterated in the 40 YEARS

reported cited by WinCo, published in 2011:

       An employer may include, with the disclosure require by [§ 1681b(b)(2)(A)], a
       very limited notice of intent to procure an investigative consumer report . . . .
       However, the employer may not meet its obligation . . . to describe the nature and
       scope of the investigation in the same notice, because it would likely overshadow
       the disclosure required by [§ 1681b(b)(2)(A)].

F.T.C., 40 YEARS OF THE FCRA, at 51 (emphasis added). The FTC also described the information

that an employer must include in the “nature and scope” disclosure for investigative reports, such

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as “a complete and accurate description of the types of question asked, the types of persons

interviewed, and the name and address of the investigative agency.” Id. at 64. Though the

disclosure form does not describe the questions that will be asked, WinCo included both a

comprehensive list of the types of persons that would be interviewed and the name and address

of its investigative agency, TalentWise. (SAC, Ex. A.) This information unlawfully

overshadowed the consumer report that WinCo gave to Mitchell—a report required to stand

alone.

         The language in the consumer report disclosure provision of the FCRA is clear. WinCo’s

interpretation of “consists solely of the disclosure” to mean that it could include a nature and

scope description of investigative reports was objectively unreasonable, if not wholly

impermissible. Further, in light of subsequent guidance from the FTC, WinCo’s inclusion of this

information remains unreasonable (and perhaps becomes more unreasonable) because the FTC

permits only a very limited notice of the intent to procure an investigative report. WinCo

exceeded even that boundary, clouding its disclosure form with the hallmarks of a “nature and

scope” description. This guidance existed when the harm to Mitchell occurred, and Defendant

has cited to this guidance itself, suggesting that WinCo either knowingly or recklessly

disregarded its legal duties in a manner that was, at minimum, objectively unreasonable. Indeed,

WinCo’s form is not the result of a careless reading, but a plain derogation of statutory and

administrative authority that created an unjustifiable risk of harm to consumers. Plaintiff has

sufficiently plead a case for willful violation of the FCRA, and thus WinCo’s Motion to Dismiss

this claim should be denied.

         2.     The “two-part test” identified by WinCo for willful violations has no basis in
                Safeco and otherwise misunderstands the Supreme Court’s holding.



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       In its arguments against willfulness, WinCo cites heavily to the Supreme Court’s decision

in Safeco, going so far as to claim that the decision “sets forth a two-part test to establish

willfulness.” (Mot. to Dismiss, at 14.) According to Defendant, this test consists of two

questions: (1) “Is the statutory text unambiguous (pellucid)?”; and (2) “If the statute is pellucid,

was the defendant’s conduct subjectively intentional or reckless?” (Id.) Naturally, WinCo applies

this test in a manner that vindicates its actions, but the “test” identified does not appear in Safeco

or any other decision. In fact, the test outlined by WinCo does not even comport with the holding

in Safeco. While the Supreme Court’s decision is undeniably relevant and controlling, WinCo’s

misrepresentation of Safeco cannot stand.

       In Safeco, the Supreme Court considered the issue of willful violation of the FCRA, and

it held that willfulness is present if an employer knowingly violates the law, or recklessly

disregards the law by interpreting the FCRA in a manner that is “objectively unreasonable” and

creates a greater risk than a merely careless reading. Safeco, 551 U.S. at 57, 69–70. The

“objectively unreasonable” recklessness standard identified in Safeco is frequently applied by

courts analyzing questions of willfulness in the FCRA context. See, e.g., Syed, 853 F.3d at 503–

05; Moore, 2015 WL 3444227, at *9; Landrum v. Harris Cnty. Emergency Corps, 122 F. Supp.

3d 617, 625 (S.D. Tex. 2015).

       When analyzing whether Safeco’s interpretation was unreasonable, the Supreme Court

considered whether the statute was silent on the point interpreted, as well as whether existing

court decisions or FTC guidance addressed the issue. Safeco, 551 U.S. at 69–70. Ultimately, the

Supreme Court decided that Safeco’s interpretation was not unreasonable given the “dearth of

guidance and the less-than-pellucid statutory text.” Id. at 70. Thus, Safeco identified two factors




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that may inform whether an employer’s interpretation is reasonable: statutory clarity and the

availability of interpretive guidance. See id.

       In its Motion, WinCo contorts the Safeco opinion to create a new “two-part test” for

willfulness. (Mot. to Dismiss, at 14.) Defendant’s first step turns the assessment of statutory

clarity into a threshold determination—according to WinCo, a failure to prove that a statute is

“pellucid” supposedly defeats the entire claim for willfulness. (Id. at 15.) This has no support in

Safeco or in any subsequent cases cited by WinCo. (See id.) In fact, if the statutory provision in

question is “pellucid” (in this case, it is), then interpretation by employers is inappropriate, let

alone objectively unreasonable. See Syed, 853 F.3d at 505 (holding that the unambiguous stand-

alone requirement “is not subject to a range of plausible interpretations”).

       Nevertheless, WinCo’s new test suggests that violating an unclear statute can never be

willful, permitting only violations of a “pellucid” law to proceed to its second step: was the

defendant’s violation “subjectively intentional or reckless?” (Mot. to Dismiss, at 14.) This “step”

is both recursive and incorrect. This step is recursive because it restates Safeco’s broad definition

of a willful violation—violating the statute knowingly or recklessly. See Safeco, 551 U.S. at 57.

In short, according to WinCo, the second step in establishing willfulness is establishing

willfulness. Further, WinCo’s step requires a “subjectively intentional” violation instead of a

knowing violation. See id. (noting that willfulness as a statutory condition of civil liability covers

both knowing and reckless violations). At no point in Safeco did the Supreme Court require (or

even mention) “subjectively intentional” violations as a requisite for willfulness.

       In effect, WinCo’s “test” consists of a heightened variation of Safeco’s willfulness

standard, preceded by a gatekeeping inquiry extracted from the factors the Supreme Court

considered when assessing recklessness. This test is wholly unsupported by Safeco, and it

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significantly misstates the legal precedent that Safeco has established. Defendant’s attempt to

rearrange the preeminent standards for willfulness and develop a new “test” is an improper

request for the Court to deviate from established precedent. The Supreme Court’s test for

willfulness outlined in Safeco is controlling, and Plaintiff has sufficiently plead a willful

violation under the Safeco standard. Accordingly, Defendant’s Motion to Dismiss should be

denied.

                                          CONCLUSION

          The Court should deny Defendant’s Motion to Dismiss the SAC. Plaintiff Mitchell has

plead sufficient facts to show that WinCo violated the FCRA and that its violation was willful.

Accordingly, this Court should deny WinCo’s Motion, permit this case to move beyond the

pleadings, and award such additional relief as it deems necessary and just.



                                               Respectfully Submitted,

Dated: March 14, 2019                          GLORIA MITCHELL, individually, and on
                                               behalf of all others similarly situated,



                                               By: /s/ Steven L. Woodrow


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                                    Denver, Colorado 80210

                                    Counsel for Plaintiff and the Putative Class

                                                   *pro hac vice




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                                    CERTIFICATE OF SERVICE

          I am a resident of the State of Colorado, over the age of eighteen years old, and am not a

party to this lawsuit. My business address is 3900 E. Mexico Avenue, Suite 300, Denver,

Colorado 80210. I HEREBY CERTIFY that on the 14th day of March 2019, I filed the foregoing

RESPONSE TO DEFENDANT’S MOTION TO DISMISS SECOND AMENDED

COMPLAINT electronically through the CM/ECF system, which caused the following parties

or counsel to be served by electronic means, as more fully reflected on the Notice of Electronic

Filing:

          Rick D. Roskelley, Attorney for Defendant WinCo Foods, LLC. Mr. Roskelley’s email

address is rroskelley@littler.com.

          I declare that the foregoing is true and correct.

                                                 /s/ Steven L. Woodrow




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